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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division




   JuuL Labs,Inc.,

                          Plaintiff,

           V.                                                Case No. l:18-cv-1063


    The Unincorporated Associations
   Identified in Schedule A,

                          Defendants.


                                            ORDER


       This matter comes before the Court on the Report and Recommendation(R&R)of United

States Magistrate Judge Ivan D. Davis, dated March 20,2019(Dkt. 62), on Plaintiffs Motion for

Entry of Default Judgment(Dkt. 54). Defendants did not object to the R&R. The Court has

reviewed the Complaint, Plaintiffs Memorandum in Support of the Motion for Entry of Default

Judgment(Dkt. 55), and the supporting documents, and finds good cause to ADOPT the

findings and recommendations of Judge Davis.

       Accordingly, for the reasons cited by Judge Davis and for good cause shown,Plaintiffs

Motion for Default Judgment(Dkt. 54) is GRANTED.The Clerk of Court is instructed to enter

Judgment pursuant to Fed. R. Civ. P. 55 in favor of Plaintiff Juul Labs, Inc. and against each of

the Defendants identified in Appendix A, in the amount of$4,000,000 per defendant. It is further

ORDERED that:


       (1)Defendants are permanently enjoined from making, using, selling, or offering for sale

unauthorized products containing the Juul Labs Trademarks;
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